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1 IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS
2 DALLAS DIVISION
3 Civil Action No. 3-06cv2322-N
4 BLANCA VALENZUELA, MARGIE SALAZAR, JOSE A. SERRATO,
JOSIE RENDON, CLARA TOVAR, CONSUELO ESPINO, MARIA
5 AVILA, ERNESTINA NAVARRETTE, MARIA E. MUNOZ, AMANDA
SALCIDO, CANDELARIO G. ORTEGA, MARIA ORTIZ, JOSE
6 OLIVA, RAFAELA CHAVEZ, ELODIA ARROYO, SUSANA CARDIEL,
GRACIE RIOS and LEONEL RUIZ, individually and on
7 behalf of all others similarly situated,
Plaintiffs, . .
9 v.
10 SWIFT BEEF COMPANY, INC., d/b/a SWIFT COMPANY, SWIFT &
COMPANY, HICKS, MUSE, TATE & FURST, INC., HM CAPITAL
11_—C. PARTNERS OF DALLAS, LLC and JOHN DOES I-v,
12 Defendants.
13
DEPOSITION OF: KATHY E. WEBER - April 8, 2008
14
15 | PURSUANT TO AGREEMENT, the deposition of KATHY
E. WEBER was taken on behalf of the Plaintiffs at 1770
16 Promontory Circle, Greeley, Colorado 80634, on April 8,
2008, at 3:05 p.m., before Barbara Birger, Registered Merit
17 Reporter, Certified Realtime Reporter and Notary Public
within Colorado.
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APPEARANCES

For the Plaintiffs:

For the Defendant:
Swift Beef

Company, Inc.

ERIC D. PEARSON, ESQ.

HEYGOOD, ORR, REYES, PEARSON &
BARTOLOMEI

2331 West Northwest Highway

2nd Floor

Dallas, Texas 75220

ROBERT E. YOULE, ESQ.
Sherman & Howard
633 17th Street, Suite 3000

Denver, Colorado 80202

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First Supplemental Responses to Putative
Class Representatives' First and Second Set

of Interrogatories

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WHEREUPON, the following proceedings were taken
Pursuant to the Federal Rules of Civil Procedure.
* * * * *
KATHY E. WEBER,
having been first duly sworn to state the whole truth,
testified as follows:
EXAMINATION
BY MR. PEARSON:

Q. Would you state your full name for the

record, please.

A.. Kathy E. Weber.

Q. Is it Ms. or Mrs. Weber?
A. Mrs.
Q. Mrs. Weber, have you had your deposition

taken before?
A. Yeah, quite a few years ago.

Q. Okay. Let me go over some of the ground

rules with you. As you can see, the court reporter

seated to your left is taking down everything that you

and I both say, so I'll need to ask you to answer out
loud to all my questions and avoid using phrases like
uh-huh or uh-uh. Can you do that for me?

A. Yes.

Q. If you don't understand my question, will

you let me know and I'll try to rephrase it?

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A. Yes.

Q. If you need a break for any reason, let

me know and I'll be happy to accommodate you.

A. Okay.

Q. What is your current job title with
Swift?

A. The payroll manager.

Q. How long have you been in that position?

A. As the manager?

Q. Yes,

A. Five years, I believe.

Q. Were you with Swift prior to that time?

A. I've been with Swift since 1981.

Q. And can you walk me through your
progression of employment from 1981 to the current
time?

A. .I started as the payroll specialist, and
went to a lead position, supervisor, and then manager,
all in payroll.

Q. And, I'm sorry, you already told me this,
but you've been the payroll manager since what year?

A. I believe it's been five years. I
honestly don't remember when the title changed.

Q. Who do you report to?

A. I report to Theresa Kasperzyk, who is the

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compensation manager.

Q. What are your primary job duties as
payroll manager?

A. To oversee the processing of the payroll
every week. I have four people reporting to me. Make
sure that all the taxes are filed, all of the
government regulations are being followed.

QO. Okay. Anything else?

A. Not anything specific.

Q. Okay. If you could open that notebook
and let me direct you to Exhibit 1. Exhibit 1,
looking at interrogatory No. 1, which is on the top of
page 3 right there. These are written questions and
answers that were exchanged in this lawsuit, and the
plaintiffs had asked for information relating to
employee name, social security number, job title, wage
rate, dates of employment, and total number of hours
worked, and there were some objections, and then if

you look over at the top of page 4 Swift said, "Swift

will produce nonarchived information responsive to.

Interrogatory No. 1 as Exhibits A and B designated as
highly confidential." Do you see that at the top of
the page?

A. Oh, yes.

Q. Were you involved at all in providing the

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information that was produced by Swift in the form of

Exhibits A and B?
A. Yes, I was.

Q. And how did you go about obtaining that

information?

A. We have a query tool that we can extract
data off of our database.

Q. So were you the one who physically did
the query to obtain this information? .

A. “Some of it.

Q. And who assisted you, if anyone?

A. I had an IT support person helping me.

Q. And what criteria -- what was your
input -- how did you generate these?

A. I sat with him and told him which fields
of data to pull and where to pull it from.

Q. What were the other fields that you could
have chosen that you didn't choose to have on these
printouts?

A. We have over 2,000 tables on our

database, so I don't think I have time to list all

those for you.

Q. For example, do you have the -- do you
have the employee's address or phone number, or is

that part of your database?

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A. Yes.

Q. And their social security numbers?

A. Yes.

Q. Let me show you what's been marked as

Exhibit 2. And as you can see, this is labeled at the
bottom -- I didn't print out the entire Exhibit A and
B because, as you can imagine, there were many, many
volumes of those.

A. Yes.

Q. ‘I just printed off the first 20 pages as
an example. It's listed as Exhibit A, response to
Interrogatory No. 1, correct?

A. Yes.

Q. Do you know why the social security
numbers were not included on this printout?

A. For security purposes.

Q. That information is available and was
available in the database?

A. Yes.

Q. And what years were you able to access in
this computer database to print out information?

A. We have everything from 2003 forward.
And if they had a record in 2002 it just came over
with a mass load from our Legacy payroll system

because we converted to a new software. So it wasn't

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1 detailed information.
2 Q. So the information that came over from
3 the Old ‘software system into the new system was not as
4 detailed?
5 A. No.
6 Q. The new system being PeopleSoft?
7 A. Yes.
8 Q. And what was the old system?
9 A. It was a homegrown, in-house system that
10 Conagra had. It was called People System.
11 Q. Is that -- is the data from that system
12 Still available somewhere?
13 A. No.
“44 Q. Is it available in printed form
15 somewhere?
16 A. No.
17 Q. Is it available archived somewhere?
18 A. At ConAgra.
19 Q. What's the current relationship, if any,
20 between ConAgra and Swift?
21 A. Not very.
22 MR. YOULE: Not very good.
23 Q. (BY MR. PEARSON) Explain that to me.
24 A. Well, I mean, the relationship was
25 severed when we were sold to an investment

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corporation, and they had an agreement with us to give
us information for a certain period of time. Anything
before that period of time is their data. They own
it.

Q. So if I wanted to get information similar
to what's on Exhibit A for years prior to 2003, in the
same level of detail, I would have to go to ConAgra?

A. I would assume so, yes.

Q. Swift doesn't have access to that either
in a computer form or written form anywhere?

A. No, we do not.

Q. And when these printed out -- as you can
see on the example I've given you as Exhibit 2 are the
first 20 pages or so -- this doesn't appear to be in
alphabetical order or hire date order or any other
type of order; is that correct?

A. . That's correct.

Q. Is there not some kind of sorting
function that would allow you to do that, or did you
choose not to do that?

A. It comes out an employee ID number, I
believe. So whatever the first assigned number was.

Q. You'll see the employee listed at the
very top of the page you've got Mark Tassin in

Louisville, then it has hire date and rehire date

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under the same date. Can you explain what that means?

A. Because he came over in that sketchy .
record of 2002, so he had data -- W-2 information in
2002. So we had to bring the record over to issue a
W-2. But he was termed at the time, so then he was
rehired in 1993. So his hire and rehire date would be
the same.

Q. But even though these pages all say
either terminate or rehire, these were people that
were just employed one time and then terminated?

MR. YOULE: Objection to form.

Q. (BY MR. PEARSON) I'm not sure I \

understand.

MR. YOULE: I think it depends on which

employees you're talking about.
-Q. (BY MR. PEARSON) Let's go down five

lines to Fabian Perez in Greeley, do you see the hire

date of 10/2/2000?

A. Uh-huh.

Q. Can you answer yes or no?

A. Yes. I'm sorry.

Q. What would that represent, that date?
A. I'm sorry, you're talking about the

Greeley person?

Q. Right. The fifth line down, Fabian

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Perez, Greeley, the first time his name is mentioned.

It shows a hire date of 10/2/2000.

A. His original hire date was 10/2 of 2000,
and somewhere in there he terminated. Then he was
rehired in 2003, terminated in 2004.

Q. Okay.

A. There could be a multitude of coming and
going in between there. We're giving you the original
hire date, and if they were rehired any time past that
date and whatever their term date is.

Q. Okay. Understood. So if you go down
towards the bottom of the page there is the name Bert
Bowen, in Greeley?

A. Yes.

Q. This would show that he was hired in
December of 1996. At some point he was terminated,
then he was rehired on March 18 of 2003?

A. Yes.

Q. Then he was terminated again on May 14,
2003; is that right?

MR. YOULE: Well, or he terminated.

A. He terminated.

Q. (BY MR. PEARSON) His employment
terminated?

A. Yes.

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Q. If he had been rehired after that date,
it would be listed here directly beneath? It wouldn't
be on some other page, right, it would be right
underneath where his name is there?

A. Yes, it should be right underneath.

- QO. These hourly wage rates that are listed,
that would be the person's wage rate at what point in
time?

A. The current one that was on the record

for that one.

Q. At the time you printed this document?
A. Yes.
Q. So if they are an active employee, that's

what their current wage rate is; is that correct?

A. Yes.

Q. And if they are someone whose employment
has terminated, that's what their pay was when they
were terminated?

A. Yes.

Q. And were you able, working with your IT
person, to obtain records for all of the Swift
employees that had been employed since 2002 to provide
this information?

A. Yes.

Q. Let me show you what's been marked --

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1 MR. YOULE: Just for the record, the
2 interrogatory asked people who worked for hourly
3 wages. That's what we responded. Your question
4 actually said all employees. So I want to make clear
5 that we answered the interrogatory. We didn't provide
6 the other information.
7 MR. PEARSON: Okay. Understood.
8 Understood.
9 Q. (BY MR. PEARSON) Now let me show you
10 what I've marked as Exhibit 14. Do you know why these
11 printouts were divided into Exhibit A and B and they
12 look a little different in form? Are they telling us
13 . different things? Is there a different software
44 package? Do you know why the difference?
15 A. They are just telling us different
16 things.
17 Q. All right. What is Exhibit 14 telling us
18 that's different from Exhibit 2 that I've shown you?
19 A. It's telling us the total number of hours —
20 worked and the total dollars earned for each calendar
21 year for that employee.
22 . Q. Okay. And the wage information was only
23 available from 2003 forward; is that right?
24 A. Yes.
25 Q. And the information that was on Exhibit 2

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went back to sometime in 2002?

A. Yes.

Q. Okay. And what database did you use to
produce Exhibit 14? Was it the same database?

A. PeopleSoft, yes.

Q. And, again, that information would have
also had the social security numbers of the people?

A. Yes.

Q. But you chose not.to put that on the
printout?

A. Exactly.

Q. Now I see there's different location
codes.

‘A. Yes.

Q. Do you have -- do you know or is there
somewhere -- a key that tells us what each location
is?

MR. YOULE: There is, actually, and we
can provide that.

Q. (BY MR. PEARSON) I won't bother to ask
you all that.

MR. YOULE: She might actually know some
of these.

A. 130 is Louisville. I don't know how many

more you have on here.

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Q.

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(BY MR. PEARSON) I wrote them all down.

I can throw them at you.

A.
Q.
A.
Q.
A.
two mixed up
Q.
A.
Q.

A.

I can maybe tell you some.

195?

Is Greeley beef.

482?

It's either Omaha or Nampa. I get those
because they are similar numbers.

And what about 486?

I don't know.

Is it 486?

That's probably Omaha or Nampa. Those

two are the two.

Q.

A.

What about 534?

That's Cactus or Dumas, however you want

to refer to it.

Q.

709?

Is Wet Blue Tanning.
717?

Is Grand Island.
809?

Hyrum.

And 1055?
Worthington.

And 1465?

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A. Marshalltown.

Q. And 1828?

A. Is Miller: Brothers.

Q. What is that?

A. The trucking. That's the trucking
company.

Q. Okay. And on Exhibit 14, the name at the
top of the page, Ronald Mattingly, for example.

A. Yes.

Q. If he was employed in 2004 and 2005, you
would find his name again later in the printout under
those years?

A. Yes.

Q. And the Exhibits A and B that were
produced were accurate as of the date they were
provided?

A. Yes.

Q. And that was in the last month or so that

those were provided?

MR. YOULE: Whatever the date of the
first interrogatory answers are. And to be completely
accurate, it would have been sometime before then.
Probably within the two weeks before the date of the

interrogatory answers.

Q. (BY MR. PEARSON) Would you look at

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Exhibit 1 in the notebook, please.

A.
Q.
A.

(2.

number of hourly wage earners, total number of hours

Where are we at now?
Would you turn to page 5.
Okay.

And interrogatory No. 3 asks for total

worked, then total wages. And that information is

included on the next page of the interrogatory

answers. Do you see that chart there?

A.

Q.

Yes.

Were you involved in the production of

that chart or that information?

A.

Q.
information?

A.

Q.

for example, Greeley beef in 2003 and break it down on

I believe I was.

How did you go about obtaining that

From the same database.

Would that database allow you to take,

a month-by-month basis?

A.

Q.

database or hard copies of I-9 forms that are filled

Yes, it would.

Do you know, does Swift maintain a

out by its employees?

A.

Q.

I don't deal with the I-9 forms.

Other than printing out the Exhibits A

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and B to the interrogatory answers and getting the
data for this chart that we're looking at on
Exhibit 2, were you asked to do anything else in
responding to discovery from the plaintiffs in this
lawsuit?

MR. YOULE: Do you know? Go ahead and
answer.

A. The ICE list.

Q. (BY MR. PEARSON) Tell me about that.

A. It's just not a database but an Excel
spreadsheet that I was maintaining to try to identify
the employees from the ICE raids. To the best of my
knowledge, the people that were missing because we
were trying to get them paid their final checks.

Q. And how were you able to -~ how were you
able to prepare that list? What did you have to do?

A. Each one of the plants sent a list of all
of the employees that were missing, and based on that
we tried to identify who picked up checks, who didn't,
who hadn't received checks.

Q. Did ICE provide Swift with a list. of

names ~-
A. No.
0. -- of any kind?
A. No.

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MR. PEARSON: I meant to bring the
request for production responses, and I thought I did.

Do you happen to have those?
MR. YOULE: I do not have them. I have
only the interrogatory answers.
Q. (BY MR. PEARSON) There was a list of --

was the list that you compiled the list of people

whose jobs were terminated after the ICE raids or

people that were arrested or both?

A. I'm not -- well, I guess I'm not sure how
they identified them. We just had a list of people
that we needed to go out and terminate for one reason
or another.

Q. And who asked you to produce that list?

MR. YOULE: Are you talking about the
list we produced as an interrogatory exhibit, or the
list that was provided by the plants to her?

Q. (BY MR. PEARSON) My understanding is
that outside of this lawsuit you were involved in
getting a list together of people who you had to find
them so you could get them their final paycheck?

A. Yes.

Q. Who asked you to do that?

A. Well, we do it as part of our process,

our due diligence, to make sure that the employees are

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paid. From there it was for the department of labor
to make sure that everyone was paid.

Q. And you were able, just through the names
of the people that were -- had not shown up for work
since the time of the ICE raids, figure out who was
missing and who needed to get a paycheck?

A. Yes.

Q. There were also produced sort of a list
or roster of people who had issues that were reported
to the Social Security Administration about their .

employment. Have you been involved at all in that

list -- compiling that list?
A. No.
Q. And we were -- the plaintiffs were also

provided with a list of all the people who have been
terminated over time because of issues related to
identity theft or lack of proper documentation or
potential immigration issues. Did you have any hand
in producing that list?

A. I don't believe that I was involved in
that list, no.

Q. Other than compiling the information

that's in this chart in Exhibit 2 and printing out the

documents that were labeled Exhibit A and B to the

interrogatories and compiling the ICE list you've

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testified about, were you asked to compile any other
information in response to the plaintiffs' discovery
request in this lawsuit?

A. No.

MR. YOULE: Actually, let me refresh her

memory here.

(Discussion off the record.)
A. Yes, I'm sorry, I was asked to provide --

MR. YOULE: Actually, I think she was
involved in Exhibit C, D, and E as well as what you
have already covered.

MR. PEARSON: Do you have those handy so
I can take a look at them?

MR. YOULE: I do.

Q. (BY MR. PEARSON) Exhibit c, it states on
the bottom it is in response to interrogatory 2A,
correct?

A. Yes.

Q. Let's look at Exhibit 1 in your notebook
and see what that 2A was.

MR. YOULE: It's on page 4, Kathy.

Q. (BY MR. PEARSON) 2A was, "The name and
social security number of each person who worked for
hourly wages in a Swift facility who you are aware was

arrested by US Immigration Customs Enforcement, or

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other law enforcement officials, for violating US
immigration laws." Did I read that correctly?

A. Yes.

Q. And you helped compile Exhibit C in
response to that interrogatory 2A?

A. Yes.

Q. And how did you go about compiling that

information?
A. The plants submitted lists of who they
were confident were illegal -- or had been arrested as

illegal, and from there we terminated them with a
termination code that reflected that.

Q. And that's what is shown in -- that's
what was shown in Exhibit C to the interrogatories?

A. Yes.

Q. And are these only people that were
terminated in the ICE raid or had been terminated at
some prior time based on concerns Swift had about
their immigration status or potential identity theft?

A. I- believe that that list, the request was
just for that period of time.

Q. Okay. Let's look at -- you also handed
me Exhibit D, which is -- was the response to
interrogatory No. 2B, correct?

A. Yes.

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Q. And interrogatory No. 2B asked for, "The
name and social security number of each person for
calendar years between January 1, 2000, to the present
for whom Swift was notified by a third party, e.g.,
Medicaid or the Social Security Administration, that
the person was using a social security number that was
also being used by another person." Is that correct?

A. I honest ly don't believe I was involved

in this particular request for earnings discrepancy

letters.

Q. So you don't think that you compiled this
Exhibit D?

A. I honestly don't believe so.

Q. Where would someone at Swift obtain the

information that would allow you to print out a name
of people that had been involved in social security
discrepancy letters? Is there a database that has
that somewhere?

A. It would be our database. The same
database. And I believe it would be based on what

type of a term code they used.

Q. What are the different term codes?

A. I can only probably tell you a couple off

the top of my head.

Q. Okay. —

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A. One would be invalid falsification.
Another would be undetermined identity. Those types
of things.

Q. If Swift got a Social Security
Administration discrepancy letter on a particular
employee but that issue was eventually resolved to
Swift's satisfaction and the employee was not
terminated, would that be indicated in the database?

A. No.

Q. So the database would only reflect people
whose employment was terminated because of an issue
arising from an SSA discrepancy letter?

- MR. YOULE: Objection to form for lack of
foundation. Do you know?

A. No, I don't know. It isn't -- no,
because that's not always the case.

Q. (BY MR. PEARSON) I'm just trying to

figure out how this Exhibit D would have been

compiled.
MR. YOULE: Do you know?
THE DEPONENT: I honestly don't.
Q. (BY MR. PEARSON) But what would be -- if
this database -- if you got in and typed this name,

Michael Abeyta, A-b-e-y-t-a, in your PeopleSoft and

you pulled up that employee, would there be an

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indication -- if that employee had been terminated,

would that be indicated on the database you have

access to?

A. Yes. There would be an indication that
he had been terminated for some reason, yes.

Q. And would there be a code there for

whatever the reason?

A. There would be a code there for what the

reason was..

Q. And one reason could be issues relating

to identity theft?

A. Yes, one could be.

Q. And another could be inability to prove

immigration status?
A. Could be.

Q. But, again, if there had been a Social
Security Administration discrepancy letter but that
had been resolved, that's not going to show on the

database?

A. No, it would not.
Q. Only people that had been terminated

would be indicated there?

A. Yes.

Q. Okay. Exhibit E was, I think, the wage

rates for the various plants?

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A. Yes.

Q. Did you compile that as well?

A. Yes.
Q. How were you able to do that?
A. We have tables that we can extract the

data from.

Q. Now I'm trying to understand why in
Exhibits A and B the plaintiffs were not provided with
social security numbers but they were in Exhibits C
and D. Do you know why that was done or what the
decision making was there?

MR. YOULE: I can answer that. In “
Exhibits C and D, to the best of our information,
those were not real people with real social security
numbers, and they certainly weren't Swift employees
past or present.

Q. (BY MR. PEARSON) Okay. I can't ask you
questions, really, but I can see if you can answer it.
So, for example, Michael Abeyta at the top of
Exhibit 2B, is it your understanding that would be the
claimed name and the claimed social security number of
an employee that Swift employed, but in reality that
wasn't the person's name and social security number ?

A. I can't tell you that that's exactly what

his problem was without seeing his termination reason.

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Q. And what about this Exhibit C that you
did have some input on, Joel Clemente, then there is a
social security number. Is it your understanding that
this name and social security number were what were
being claimed by the employee?

A. Yes.

Q. Based on the fact they were terminated,
it's Swift's belief that the person you had working
for you under that name and social security was not
that person with that social security number?

A. Exactly.

Q. You're not so sure about that with
Exhibit D; is that correct?

A. No, I am not.

MR. PEARSON: If you'll agree to give me
that key code so I can make sure all these plant
numbers --

MR. YOULE: Sure.

MR. PEARSON: I have no further
questions.

MR. YOULE: No questions.

WHEREUPON, the within proceedings were

concluded at the approximate hour of 3:39 p.m. on the

8th day of April, 2008.

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I, KATHY E. WEBER, do hereby certify that
I have read the above and foregoing deposition and
that the same is a true and accurate transcription of
my testimony, except for attached amendments, if any.

Amendments attached ( ) Yes ( ) No

KATHY E. WEBER

The signature above of KATHY E. WEBER was

subscribed and sworn to before me in the county of

, State of Colorado, this - day of

, 2008.

Notary Public

My commission expires

Blanca Valenzuela 4/8/08 (bb)

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REPORTER'S CERTIFICATE

STATE OF COLORADO )
) ss.

CITY AND COUNTY OF DENVER )

I, BARBARA BIRGER, Registered Merit
Reporter, Certified Realtime Reporter, and Notary
Public, State of Colorado, do hereby certify that
previous to the commencement of the examination, the
said KATHY E. WEBER was duly sworn by me to testify to
the truth in relation to the matters in controversy
between the parties hereto; that the said deposition
was taken in machine shorthand by me at the time and
place aforesaid and was thereafter reduced to
typewritten form herein; that the foregoing is a true
transcript of the questions asked, testimony given,

and proceedings had.

I further certify that I am not employed
by, related to, nor counsel for any of the parties
herein, nor otherwise interested in the outcome of

this litigation.
IN WITNESS WHEREOF, I have affixed my

signature this 14th day of April, 2008.

My commission expires November 26, 2010.

—X__ Reading and Signing was requested.

Reading and Signing was waived.

Reading and Signing is not required.

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